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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 MBA ENGINEERING, INC. as Sponsor                §
 and Administrator of the MBA Engineering,       §
 Inc. Employees 401(k) Plan and the MBA          §
 Engineering, Inc. Cash Balance Plan,            §
                                                 §
                  Plaintiff,                     §
                                                 §
 v.                                              §          Civil Action No. 3:17-CV-3300-L
                                                 §
 VANTAGE BENEFITS                                §
 ADMINISTRATORS, INC.; JEFFREY                   §
 RICHIE; WENDY K. RICHIE; and                    §
 DOES 1-10,                                      §
                                                 §
                    Defendants.                  §

                                             ORDER

         On June 5, 2018, Defendant Vantage Benefits Administrators, Inc. filed for bankruptcy,

seeking relief pursuant to Chapter 7 of the United States Bankruptcy Code. Pursuant to 11 U.S.C.

§ 362, an automatic stay is now in effect regarding Defendant Vantage Benefits Administrators,

Inc.

         It is so ordered this 12th day of October, 2018.




                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




Order – Solo Page
